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                      UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

  ***************************
  UNITED STATES OF AMERICA,
           Plaintiff
  vs.                                   Case No. 1:19-cr-10459-RWZ-1
  MICHAEL CECCHETELLI,
           Defendant
  ***************************
  UNITED STATES OF AMERICA,
           Plaintiff
  vs.                                   Case No. 1:19-cr-10459-RWZ-4
  JORGE RODRIGUEZ
           Defendant
  ***************************
  UNITED STATES OF AMERICA,
           Plaintiff
  vs.                                   Case No. 1:19-cr-10459-RWZ-6
  FRANCISCO LOPEZ,
           Defendant
  ***************************
  UNITED STATES OF AMERICA,
           Plaintiff
  vs.                                   Case No. 1:19-cr-10459-RWZ-8
  JUAN LIBERATO,
           Defendant
  ***************************
  UNITED STATES OF AMERICA,
           Plaintiff
  vs.                                   Case No. 1:19-cr-10459-RWZ-9
  ANGEL ROLDAN,
           Defendant
  ***************************

              TRANSCRIPT OF DETENTION HEARING/ARRAIGNMENT
                BEFORE THE HONORABLE MARIANNE B. BOWLER
                       AT BOSTON, MASSACHUSETTS
                         ON DECEMBER 11, 2019

  Prepared by:    Karen M. Aveyard,
                  Approved Federal Court Transcriber

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 1                              P R O C E E D I N G S

 2

 3               THE CLERK:    The United States District Court for the

 4     District of Massachusetts is now in session, the Honorable

 5     Marianne B. Bowler presiding.       Today is December 11, 2019

 6     (inaudible) case of the United States versus Cecchetelli,

 7     Rodriguez, Lopez, Liberato and Roldan, Criminal 19-10459.          For

 8     the record, these are defendants numbered 1, 4, 6, 8 and 9.

 9     This matter will now be heard.

10               Will counsel please identify themselves for the

11     record.

12               MR. MALLARD:    Good morning, your Honor.       Philip

13     Mallard for the United States.       I'm joined by AUSA Glenn

14     MacKinlay.

15               MR. MacKINLAY:     Good morning.

16               THE COURT:    Good morning.

17               Going down the list, for Mr. Cecchetelli?

18               MR. BOURBEAU:     Yes.   Good morning, your Honor.

19     Michael Bourbeau for Michael Cecchetelli.

20               THE COURT:    Thank you very much.

21               For Mr. Rodriguez?

22               MR. SULTAN:    Good morning, your Honor.       James Sultan

23     for Mr. Rodriguez.

24               THE COURT:    Thank you.

25               For Mr. Lopez?
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 1                 MR. MILLIGAN:    Hello, your Honor.        I'm Leonard

 2     Milligan for Mr. Lopez, who is the third from the left.

 3                 THE COURT:    Thank you.

 4                 For Mr. Liberato?

 5                 MR. CIPOLETTA:    Good morning, your Honor.       James

 6     Cipoletto on behalf of Mr. Liberato, who is in the first row,

 7     second from left.

 8                 THE COURT:    Thank you.

 9                 And for Mr. Roldan?

10                 MR. AMABILE:    John Amabile, your Honor.       I represent

11     Mr. Roldan.

12                 THE COURT:    Thank you very much.

13                 Well, we're here for the purpose of detention and

14     arraignment.

15                 MR. BOURBEAU:    Mr. Cecchetelli is prepared to be

16     arraigned.    He is going to submit to voluntary detention.

17                 THE COURT:    Alright.

18                 MR. SULTAN:    Your Honor, Mr. Rodriguez is in the same

19     position.    He will agree to voluntary detention and is prepared

20     to be arraigned.

21                 THE COURT:    Alright.     Mr. Lopez?

22                 MR. MILLIGAN:    Same position, your Honor, voluntary

23     detention without prejudice.

24                 THE COURT:    Alright.     Mr. Liberato?

25                 MR. CIPOLETTA:    Your Honor, Mr. Liberato would like to
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 1     be interviewed.    We're in the process of working with Pretrial

 2     Services to schedule a detention hearing after his interview.

 3               THE COURT:    So voluntary detention until the interview

 4     is completed and we can pick a date.

 5               MR. CIPOLETTA:     Yes.     Yes.   Thank your Honor.

 6               THE COURT:    Alright.      Mr. Amabile?

 7               MR. AMABILE:    Your Honor, we're prepared for

 8     arraignment and are going to agree to detention without

 9     prejudice.

10               THE COURT:    So as to all five defendants present here

11     in court, an order of voluntary detention without prejudice.

12     As to Mr. Liberato, I'll be expecting a motion as soon as the

13     interview and a package is put together.         Then we'll give you a

14     prompt hearing.

15               I'll proceed in the order in which the defendants are

16     named with the arraignment.      So starting with Mr. Cecchetelli,

17     if you'll please stand.

18               Mr. Bourbeau, have you reviewed the Indictment with

19     your client?

20               MR. BOURBEAU:     I have.

21               THE COURT:    And have you explained the nature of it to

22     him?

23               MR. BOURBEAU:     Yes, I have.

24               THE COURT:    And does he understand it?

25               MR. BOURBEAU:     He does.
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 1               THE COURT:    Is he prepared to be arraigned here today?

 2               MR. BOURBEAU:     Yes.

 3               THE COURT:    And does he waive the reading of the

 4     Indictment in its entirety?

 5               MR. BOURBEAU:     He does.

 6               THE COURT:    The maximum penalty, please.

 7               MR. MALLARD:    Thank you, your Honor.

 8               This defendant is charged in Count 1 of the

 9     Indictment, which is conspiracy to conduct enterprise affairs

10     through a pattern of racketeering activity.          That charge

11     carries a 20-year maximum term of imprisonment, a term of

12     supervised release of up to three years, a fine of $250,000, a

13     special assessment of up to $100, and forfeiture as referenced

14     in the Indictment.

15               THE COURT:    Thank you.

16               Mr. Putnam?

17               THE CLERK:    Mr. Cecchetelli, as to Count 1 of the

18     Indictment charging conspiracy to conduct enterprise affairs

19     through a pattern of racketeering activity, in violation of

20     Title 18, United States Code, Section 1962(d), how do you

21     plead?

22               DEFENDANT CECCHETELLI:       Not guilty.

23               THE COURT:    Alright.     You may be seated.

24               Mr. Sultan, have you reviewed the Indictment with your

25     client?
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 1               MR. SULTAN:    Yes, your Honor.

 2               THE COURT:    And have you explained the nature of it to

 3     him?

 4               MR. SULTAN:    Yes, your Honor.

 5               THE COURT:    And does he understand it?

 6               MR. SULTAN:    Yes, your Honor.

 7               THE COURT:    Is he prepared to be arraigned here today?

 8               MR. SULTAN:    Yes, your Honor.

 9               THE COURT:    And does he waive the reading of the

10     Indictment in its entirety?

11               MR. SULTAN:    He does.

12               THE COURT:    The maximum penalty, please.

13               MR. MALLARD:    Thank you, your Honor.

14               This defendant is charged in Count 1, which is

15     conspiracy to conduct enterprise affairs through a pattern of

16     racketeering activity.      That carries a 20-year maximum term of

17     imprisonment, a term of supervised release of up to three

18     years, a fine of up to $250,000, a special assessment of $100,

19     and forfeiture as referenced in the Indictment.

20               He's also charged in Count 2 of the Indictment, which

21     is conspiracy to distribute, and possession with intent to

22     distribute cocaine and cocaine base, in violation of 21 U.S.C.

23     Section 846.    That carries a maximum penalty of 20 years of

24     imprisonment, a term of supervised release of at least three

25     years and up to life, a fine of up to $1 million, a special
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 1     assessment of $100, and forfeiture as referenced in the

 2     Indictment.

 3               THE COURT:    Thank you.

 4               Mr. Putnam.

 5               THE CLERK:    Mr. Rodriguez, as to Count 1 of the

 6     Indictment charging conspiracy to conduct enterprise affairs

 7     with a pattern of racketeering activity, in violation of

 8     Title 18, United States Code, Section 1962(d), how do you

 9     plead?

10               DEFENDANT RODRIGUEZ:        Not guilty.

11               THE CLERK:    And as to Count 2 of the Indictment

12     charging conspiracy to distribute, and possession with intent

13     to distribute cocaine and cocaine base, in violation of

14     Title 21, United States Code, Section 846, how do you plead?

15               DEFENDANT RODRIGUEZ:        Not guilty.

16               THE COURT:    Alright.      You may be seated.

17               Mr. Milligan?

18               MR. MILLIGAN:     Thank you, your Honor.

19               THE COURT:    You're welcome.

20               Have you reviewed the Indictment with your client?

21               MR. MILLIGAN:     I have.

22               THE COURT:    And have you explained the nature of it to

23     him?

24               MR. MILLIGAN:     I have.

25               THE COURT:    And does he understand it?
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 1               MR. MILLIGAN:     He does.

 2               THE COURT:    Is he prepared to be arraigned here today?

 3               MR. MILLIGAN:     He is.

 4               THE COURT:    And does he waive the reading of the

 5     indictment in its entirety?

 6               MR. MILLIGAN:     He does.

 7               THE COURT:    The maximum penalty, please.

 8               MR. MALLARD:    Thank you, your Honor.

 9               This defendant is charged only in Count 1, which is

10     conspiracy to conduct enterprise affairs through a pattern of

11     racketeering activity.      That carries a 20-year maximum term of

12     imprisonment, a term of supervised release of up to three

13     years, a fine of up to $250,000, a special assessment of $100,

14     and forfeiture as referenced in the Indictment.

15               THE COURT:    Thank you.

16               Mr. Putnam.

17               THE CLERK:    Mr. Lopez, as to Count 1 of the Indictment

18     charging conspiracy to conduct enterprise affairs through a

19     pattern of racketeering activity, in violation of Title 18,

20     United States Code, Section 1962(d), how do you plead?

21               DEFENDANT LOPEZ:     Not guilty.

22               THE COURT:    Thank you.     You may be seated.

23               Mr. Cipoletta, have you reviewed the Indictment with

24     your client?

25               MR. CIPOLETTA:     Yes, your Honor.
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 1                 THE COURT:    And have you explained the nature of it to

 2     him?

 3                 MR. CIPOLETTA:    Yes, your Honor.

 4                 THE COURT:    And does he understand it?

 5                 MR. CIPOLETTA:    He does.

 6                 THE COURT:    Is he prepared to be arraigned here today?

 7                 MR. CIPOLETTA:    Yes, your Honor.

 8                 THE COURT:    And does he waive the reading of the

 9     Indictment in its entirety?

10                 MR. CIPOLETTA:    Yes.

11                 THE COURT:    The maximum penalty, please.

12                 MR. MALLARD:   Thank you, your Honor.

13                 This defendant is charged in Count 1, conspiracy to

14     conduct enterprise affairs through a pattern of racketeering

15     activity.    That carries a 20-year maximum term of imprisonment,

16     a term of supervised release of up to three years, a maximum

17     fine of up to $250,000, a special assessment of $100, and

18     forfeiture as referenced in the Indictment.

19                 THE COURT:    Thank you.

20                 Mr. Putnam.

21                 THE CLERK:    Mr. Liberato, as to Count 1 of the

22     Indictment charging conspiracy to conduct enterprise affairs

23     through a pattern of racketeering activity, in violation of

24     Title 18, United States Code, Section 1962(d), how do you

25     plead?
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 1                DEFENDANT LIBERATO:      Not guilty.

 2                THE COURT:    Alright.    You may be seated.    Thank you.

 3                Mr. Amabile, have you reviewed the indictment with

 4     your client?

 5                MR. AMABILE:    Yes, your Honor.

 6                THE COURT:    And have you explained the nature of it to

 7     him?

 8                MR. AMABILE:    Yes, your Honor.

 9                THE COURT:    And does he understand it?

10                MR. AMABILE:    Yes, he does.

11                THE COURT:    Is he prepared to be arraigned here today?

12                MR. AMABILE:    Yes, your Honor.

13                THE COURT:    And does he waive the reading of the

14     Indictment of its entirety?

15                MR. AMABILE:    Yes, your Honor.

16                THE COURT:    The maximum penalty, please.

17                MR. MALLARD:    Thank you, your Honor.

18                This defendant is charged in Count 1, which is

19     conspiracy to conduct enterprise affairs through a pattern of

20     racketeering activity.      It carries a 20-year maximum term of

21     imprisonment, a term of supervised release of up to three

22     years, a $250,000 fine, a $100 special assessment, and

23     forfeiture as specified in the Indictment.

24                THE COURT:    Thank you very much.

25                Mr. Putnam.
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 1                THE CLERK:    Mr. Roldan, as to Count 1 of the

 2     Indictment charging conspiracy to conduct enterprise affairs

 3     through a pattern of racketeering activity, in violation of

 4     Title 18, United States Code, Section 1962(d), how do you

 5     plead?

 6                MR. ROLDAN:    Not guilty.

 7                THE COURT:    You may be seated.     Thank you.

 8                How many witnesses does the Government intend to call

 9     and what's the probable length of trial?

10                MR. MALLARD:    Your Honor, consistent with our other

11     arraignments, it would be approximately 30 to 40 and about a

12     month-long trial.

13                THE COURT:    Alright.     I've set February the 3rd at

14     2:30 for an Initial Status Conference.         I note that there is a

15     Protective Order in place.       Those of you who are willing to

16     sign it, sign it as quickly as possible, and then you'll

17     receive the discovery.

18                Mr. Sultan?

19                MR. SULTAN:    Your Honor, the only other thing, I did

20     submit today a financial affidavit for Mr. Rodriguez.             I would

21     ask that the Court appoint me under the Criminal Justice Act

22     nunc pro tunc to last -- excuse me, December 5th, which was the

23     day of the initial appearance.

24                THE COURT:    Thank you.

25                I have financial affidavits for both Mr. Lopez and
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 1     Mr. Rodriguez this morning and I deem counsel to be appointed

 2     in both cases, and in both cases nunc pro tunc to the original

 3     appearance in court.

 4                MR. SULTAN:    Thank you, your Honor.

 5                THE COURT:    I'll enter an order of voluntary detention

 6     without prejudice, and then as to Mr. Liberato, I'll be waiting

 7     to hear when you're ready for...

 8                In the interim, the defendants are remanded to the

 9     custody of the United States Marshals.

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11                (The hearing was concluded.)

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                         C E R T I F I C A T I O N



             I, Karen M. Aveyard, Approved Federal Court

  Transcriber, do hereby certify that the foregoing transcript,

  consisting of 13 pages, is a correct transcript prepared to the

  best of my skill, knowledge and ability from the official

  digital sound recording of the proceedings in the

  above-entitled matter.




  /s/ Karen M. Aveyard

  Karen M. Aveyard



  June 30, 2020

  Date
